Case 1:12-cv-03771-AMD-JO Document 601 Filed 10/30/17 Page 1 of 9 PageID #: 12379




                                                                                  ORIGINAL
      UNITED STATES DISTRICT COURT
     EASTERN DISTRICT OF NEW YORK
                                                   X
     PHOENIX BEVERAGES,INC.,RODB LLC,WINDMILL
     DISTRIBUTING COMPANY,L.P., UP FROM THE ASHES,
     INC., and other affiliated companies of
     PHOENIX BEVERAGES,INC.,                                                     Civil Action No.
                                                                                 CV-12-3771
                                Plaintiffs,                                      (Donnelly, J.;
                                                                                  Orenstein, M.J.)
                - against -

     EXXON MOBIL CORPORATION,EXXONMOBIL RESEARCH
     AND ENGINEERING COMPANY and QUANTA RESOURCES
      CORPORATION,
                                  Defendants.
                                                                               FILED
                                                                           IN CLERK'S OFFICE
            •                                          X               US DISTRICT COURT E.D.N.Y.
     QUANTA RESOURCES CORPORATION,
                                                                       ★    OCTSO2017          ★
                              Third-Party Plaintiff,

                   -against-                                           BROOKLYN OFFICE

      ACE WASTE OIL,INC,EtAL,

                               Third-Party Defendants.
                                                       X



                                              CONSENT JUDGMENT

             This Consent Judgment (the "Consent Judgment") is entered into between Plaintiffs
     Phoenix Beverages Inc., RODB LLC, Windmill Distributing Company,L.P., Up From the Ashes
     Inc., and the other affiliated companies of Phoenix Beverages, Inc. that are signatories to this
     Agreement (collectively, "Phoenix"), and Third-Party Defendants the United States of America,
     United States Army, Navy, Air Force, Coast Guard and Department of Defense ("Federal Third-
     Party Defendants").

             Whereas, on July 31, 2012, Phoenix sued Exxon Mobil Corporation and ExxonMobil
     Research and Engineering Company (collectively, ("ExxonMobil") and Quanta Resources
     Corporation ("Quanta") by filing a Complaint(Index Number 12-CV-3771) in the United States
     District Court for the Eastern District ofNew York (the "Phoenix Litigation"); and

            Whereas, in the Phoenix Litigation, Phoenix asserts claims under the Comprehensive
     Environmental Response, Compensation and Liability Act("CERCLA"),42 U.S.C. §9601 et seq.,
     the Resource Conservation and Recovery Act,("RCRA"),42 U.S.C. §6901 et seq., the New York
Case 1:12-cv-03771-AMD-JO Document 601 Filed 10/30/17 Page 2 of 9 PageID #: 12380



     Consent Judgment in Civil Action No. CV-12-3771


     Navigation Law §181(5)and New York State common law claims arising out of nuisance,trespass,
     negligence, and strict liability, and seeks declaratory relief, cost recovery, injunctive relief,
     damages and attorneys' fees incurred in response to the alleged presence of hazardous substances
     at and under the real property located at 37-88 Review Avenue, Long Island City New York (the
     "Phoenix Property"); and

            Whereas, Phoenix alleges that hazardous substances migrated and continue to migrate to
     the Phoenix Property from the real property located adjacent to the Phoenix Property at 37-80
     Review Avenue, Long Island City, New York (the "Quanta Property"); and

            Whereas, Phoenix alleges that Quanta, as a former owner and operator of the Quanta
     Property, is liable for the migration of hazardous substances from the Quanta Property to the
     Phoenix Property; and

            Whereas, Phoenix alleges that ExxonMobil, as a generator of hazardous substances sent
     to the Quanta Property, is liable for the migration of hazardous substances from the Quanta
     Property to the Phoenix Property; and

            Whereas, Quanta and ExxonMobil have asserted cross claims against each other and
     counterclaims against Phoenix arising out of the alleged presence of hazardous substances on the
     Phoenix Property; and

             Whereas, on or about July 1,2013, ExxonMobil filed a Third-Party Complaint against the
     Federal Third-Party Defendants and other Third-Party Defendants ("Private Third Party
     Defendants")(collectively "the Third-Party Defendants"), alleging that those parties generated or
     transported hazardous wastes or other hazardous substances that were delivered for disposal or
     treatment to the Quanta Property, and that to the extent that Phoenix recovered on its claims that
     these materials migrated to the Phoenix Property,the Third-Party Defendants were responsible for
     their fair share of those claims; and;

            Whereas, on or about July 1, 2013, Quanta filed a Third-Party Complaint against the
    parties identified on Attachment C (the "non-QSAG Third-Party Defendants"), which includes
    certain Private Third-Party Defendants and the Federal Third-Party Defendants,alleging that those
    parties generated or transported hazardous wastes or other hazardous substances that were
    delivered for disposal or treatment to the Quanta Property, and that to the extent that Phoenix
    recovered on its claims that these materials migrated to the Phoenix Property, the non-QSAG
    Third-Party Defendants were responsible for their fair share of those claims; and

           Whereas, on May 12, 2016, the Federal Third-Party Defendants filed answers to the
    Quanta Third Party Complaint and the ExxonMobil Third Party Complaint (Dkts. 558, 559
    respectively)denying all allegations; and

            Whereas,to the extent that Phoenix has claims against the Federal Third-Party Defendants
    related to contamination at or under the Phoenix Property,these claims are hereby deemed asserted
    and resolved by this Consent Judgment in accordance with the tenns herein; and

          Whereas, the "Quanta Site Administrative Group" or "QSAG", which includes
    ExxonMobil, Quanta and certain Private Third-Party Defendants, allege that they have paid and
Case 1:12-cv-03771-AMD-JO Document 601 Filed 10/30/17 Page 3 of 9 PageID #: 12381



     Consent Judgment in Civil Action No. CV-12-3771


     will pay certain amounts to remediate the contaminated conditions at the Quanta Property and an
     adjacent property located at 37-30 through 37-32 Review Avenue, Long Island City, New York
     (the "North Capasso Property") and that they are continuing to fund said remediation, which is
     being conducted pursuant to Brownficld Site Cleanup Agreements W2-1076-05-09 and W2-1078-
     05-09, and that they have paid and will incur costs related to the Phoenix Property as part of the
     approved Site Management Plan for the Quanta Property and the North Capasso Property; and

             Whereas, Quanta and certain Third-Party Defendants allege that ExxonMobil is liable for
     contamination arising out of its former operations on the Phoenix Property and the real property
     located adjacent to the Phoenix Property at 38-20 Review Avenue, Long Island City, New York
     (the "LeNoble Property"); and

              Whereas, the Federal Third-Party Defendants contend that the Phoenix Property and the
     LeNoble Property were formerly owned and operated by ExxonMobil's predecessor as part of a
     facility referred to as the Former Pratt Oil Works (the "FPOW") more fully described as Block
     312, Lots 79; 89,300,309,315,330,343,349,350,362, 500,1362, and 1367 in Long Island City,
     Queens, New York, which has been subdivided and no longer has one address constituting the
     entire FPOW;and

           Whereas,on or about April 12,2016, ExxonMobil Oil Corporation signed a consent order
    with the New York State Department of Environmental Conservation (the "NYSDEC")(Case
    Number D2-1002-I2-07AM-2) regarding the implementation of remedial measures for certain
    portions of the FPOW (the "FPOW Consent Order"), which includes the LeNoble Property
    (ExxonMobil and ExxonMobil Oil Corporation, are collectively referred to as the "ExxonMobil
     Parties"); and

            Whereas, Phoenix, ExxonMobil, Quanta and the Private Third-Party Defendants have
    agreed to a Confidential Settlement Agreement without any admission of liability or fault that
    resolved the claims between and among themselves in the Phoenix Litigation, but did not address
    the claims concerning the Federal Third-Party Defendants in the Phoenix Litigation, in which (a)
    Phoenix agreed, inter alia, to apply for admission, as a Volunteer, as defined in the New York
    Environmental Conservation Law ("NY-ECL") §27-1405(l)(B), into the New York State
    Brownfield Cleanup Program for the Phoenix Property and,if approved, to implement a remedial
    action work plan for the Phoenix Property (the "Phoenix Brownfield Remediation"),(b) QSAG
    agreed, inter alia, to continue to fund the NYSDEC-approved remedy for the Quanta Property and
    the North Capasso Property consistent with the Site Management Plans for those properties dated
    December 2015, and (c) ExxonMobil agreed, inter alia, to investigate and remediate, at its sole
    cost and expense,the contamination ofthe LeNoble Property pursuant to the FPOW Consent Order
    ("ExxonMobil Lenoble Property Work");

             Whereas, Phoenix and the Federal Third-Party Defendants (collectively "the Parties")
     desire to resolve the claims that could have been brought between Phoenix and the Federal Third-
     Party Defendants related to Covered Matters in the Phoenix Litigation without further litigation
     and without a litigated resolution or admission by any party; and
Case 1:12-cv-03771-AMD-JO Document 601 Filed 10/30/17 Page 4 of 9 PageID #: 12382



     ConsentJudgment in Civil Action No. CV-J2-377J


             Whereas, the Parties agree, and this Court finds, that this Consent Judgment is fair,
     reasonable, lawful and in die public interest.

            Now therefore, it is ordered, adjudged and decreed:

                                           I. PARTIES BOUND

     1.     The Parties. The Parties to this Consent Judgment are Phoenix, and the Federal Third-
     Party Defendants.

     2.      Application of this Consent Judgment. This Consent Judgment shall apply to, be binding
     upon, and inure to the benefit of the Parties. This Consent Judgment shall not extend to or inure
     to the benefit of any party, person or entity other than the Parties, and nothing in this Consent
     Judgment shall be construed to make any person or entity not executing this Consent Judgment a
     third-party beneficiary to this Consent Judgment.

                                          11. EFFECTIVE DATE


     3.      Effective Date. The Effective Date of this Consent Judgment shall be the date on which
     this Consent Judgment is entered by the Clerk ofthe United States District Court.

                                            m.DEFINITIONS


    4.     Definitions. In addition to the terms defined within the body of this Consent Judgment,
    whenever the term "Covered Matters" is used in this Consent Judgment, it shall mean
    contamination at or under the Phoenix Property.

                                              IV.PAYMENT

    5.      Payment bv the Federal Third-Party Defendants.

    (a) As soon as reasonably practicable after the Effective Date,the Federal Third-Party Defendants
    will pay a total of two hundred thousand dollars ($200,000) to Hunsucker Goodstein, as legal
    coimsel for Phoenix.

    (b) The Federal Third-Party Defendants' payments under this Paragraph shall not constitute or be
    construed as the assumption of any role in, the undertaking of any legal, contractual, or other
    responsibility for, or the approval of or concurrence in, any response actions that Phoenix or the
    QSAG have taken, are now taking or may take in the future with respect to the Phoenix Property,
    or that ExxonMobil has taken, is now taking or may take in the future with respect to the LeNoble
    Property.

    (c) All payment obligations of the Federal Third-Party Defendants under this Consent Judgment
    are subject to the availability of appropriated funds applicable for that purpose. No provision of
    this Consent Judgment shall be interpreted as or constitute a commitment or requirement that the
    Federal Third-Party Defendants are obligated to or pay funds in contravention of the Anti-
    Deficiency Act,31 U.S.C. §§ 1341-44 and 1511-19, or any other applicable provision oflaw.
Case 1:12-cv-03771-AMD-JO Document 601 Filed 10/30/17 Page 5 of 9 PageID #: 12383



     Consent Judgment in Civil Action No. CV-12-377I


                           V. RELEASES AND COVENANTS NOT TO SUE

     6.      Releases and Covenants Not to Sue.

     (a)     Effective upon receipt by Hunsucker Goodstein PC, as legal counsel for Phoenix, of
     payment in full from the Federal Third-Party Defendants pursuant to Section IV above,Phoenix
     and its predecessors, successors, assigns, affiliates, parent companies, subsidiaries and all related
     entities, including, but not limited to,their officers, directors, shareholders, agents,employees,and
     servants, covenants not to sue the United States, or any agency thereof, including the Federal
     Third-Party Defendants, and releases, surrenders, and forever discharges any and all claims and
     causes of action, in law or in equity, whether known or unknown, against the United States, or any
     agency thereof, including the Federal Third-Party Defendants, based on CERCLA, RCRA, the
     New York Navigation Law §181(5) and New York State common law claims arising out of
     nuisance, trespass, negligence, and strict liability, or any other federal or state statute or common
     law for Covered Matters. Phoenix further agrees that except for the payment required by this
     Consent Judgment, it shall not seek or accept payment or reimbursement from, and hereby assert
     that it has not been paid or reimbursed by,the United States for investigation or remediation ofthe
     Phoenix Property, in connection with past, existing, or future contracts or other agreements with,
     or grants or subsidies funded by or received from, the United States. If Phoenix becomes aware of
     or is offered any such payment,reimbursement or benefit, it shall promptly give notice ofthe terms
     ofthis Consent Judgment to the individual, agency or other entity that is offering or has provided
     such payment, reimbursement or other benefit, and shall simultaneously notify the Federal Third-
     Party Defendants at the address specified below.

    (b) Except as provided in Paragraph 7, the United States, including the Federal Third-Party
    Defendants, hereby covenants not to sue Phoenix and releases, surrenders, and forever discharges
    any and all claims and causes of action, in law or in equity, whether known or unknown, against
    Phoenix based on CERCLA,RCRA,the New York Navigation Law §181(5)and New York State
    common law claims arising out of nuisance, trespass, negligence, and strict liability, or any other
    federal or state statute or common law for Covered Matters,

     7.     Reservation of Rights bv United States. The United States specifically reserves its right to
    assert any claims or causes ofaction brought on behalfofEPA or a federal natural resources trustee
    and nothing in this Consent Judgment shall constitute or be construed as a waiver, limitation or
    release of any claims or causes of action by the United States to enforce any federal laws or
    regulations at or in connection with the Phoenix Property. Phoenix specifically reserves any and
    all claims or defenses with respect to the United States' reservation of rights set forth in this
    Paragi-aph, except that Phoenix shall not seek contribution by the United States for the Phoenix
    Litigation other than the payment required by this Consent Judgment. In addition, the Parties
    specifically reserve the right to seek judicial enforcement of the terms ofthis Consent Judgment.

    8.      Survivabilitv of Release and Covenant to Sue. The releases and covenants not to sue set
    forth in the Paragraph 6 shall survive, and are in no way affected 6y, any termination of the
     Confidential Settlement Agreement among and between Phoenix, EjpconMobil, Quanta and the
    Private Third-Party Defendants.
Case 1:12-cv-03771-AMD-JO Document 601 Filed 10/30/17 Page 6 of 9 PageID #: 12384



     Consent Judgment in Civil Action No. CV-12-3771


     9.      Third Parties and Reservations of Rights.

     (a) Nothing in this Consent Judgment shall be construed to release or provide contribution
     protection to any person or entity not executing this Consent Judgment from any liability
     whatsoever.

     (b)     Nothing in this Consent Judgment shall be construed to create any rights in, or grant any
     cause of action to, any person not a Party to this Consent Judgment. The preceding sentence shall
     not be construed to waive or nullify any rights that any person not a signatory to this Consent
     Judgment may have under applicable law.

     (c)     Each of the Parties expressly reserves any and all rights (including, but not limited to, any
     right of contribution), defenses, claims, demands, and causes of action relating in any way to
     Covered Matters or this Consent Judgment which each Party has and/or may have against any
     person not a Parly hereto. Nothing in this Consent Judgment diminishes the right of the United
     States pursuant to Section 113(f) of CERCLA,42 U.S.C. § 9613(f), to pursue any such persons to
     obtain response costs and to enter into settlements that give rise to contribution protection under
     Section 113(f)(2).

                              VI. BROWNFIELD REMEDIATION WORK

     10.    The United States shall not be held out as a party to any contract with respect to carrying
     out the Phoenix Brownfield Remediation Work. Neither Phoenix, nor any contractor or
     subcontractor thereof, shall be considered an agent or representative ofthe United States, including
     the Federal Third-Party Defendants.

                                       VII. CLAIM PROTECTION

     11.    Protection Aualnst Claims.

             With regard to any claim for costs, damages or other claims against the United States
    arising out of or in connection with Covered Matters, the Parties acknowledge and agree, and by
    entering this Consent Judgment, this Court finds, that this settlement constitutes a judicially-
    approved settlement for purposes of Section 113(f)(2) of CERCLA,42 U.S.C. § 9613(f)(2), and
    that the United States is entitled, as ofthe Effective Date ofthis Consent Judgment, to contribution
    protection pursuant to CERCLA section 113(f), 42 U.S.C. § 9613(f), the Uniform Comparative
    Fault Act, or as may be otherwise provided by law, for Covered Matters, whether by statute or
    common law, extinguishing the United States' liabilities to persons not a Party to this Consent
    Judgment. Any rights the United States may have to obtain contribution or otherwise recover costs
    or damages from persons not a Party to this Consent Judgment are preserved.

                                      VII. DISMISSAL OF CLAIMS

    12.    Consistent with the Stipulation of Voluntary Dismissal with Prejudice as to the Federal
    Third-Party Defendants Pursuant to Fed. R. Civ. P. 4l(a)(l)(A)(ii) to be filed with the Court
    immediately after this Consent Judgment is filed. Phoenix agrees that the any claims that could
    have been brought related to Covered Matters as to the United States and all of its agencies,
    including the Federal Third-Party Defendants, are voluntarily dismissed with prejudice, without
Case 1:12-cv-03771-AMD-JO Document 601 Filed 10/30/17 Page 7 of 9 PageID #: 12385



     Consent Judgment in Civil Action No. CV-12-377J


     costs assessed by the Court against any Party, pursuant to Federal Rule of Civil Procedure
     41(a)(l)(A)(ii), except that the Court will retain jurisdiction as set forth in Paragraph 21 below.

                                      VIII. GENERAL PROVISIONS


     13.     Complete Agreement. This Consent Judgment contains the complete agreement between
     the Parties regarding the subject matter addressed herein and fully supersedes all prior contracts,
     agreements, understandings, negotiations or discussions, oral or written, relating to the subject
     matter hereof. There are no warranties, representations, agreements or understandings, oral or
     written, relating to the subject matter hereofthat are not fully expressed or provided for herein.

     14.    Modification. This Consent Judgment shall not be modified or amended except by mutual
     written consent ofthe Parties.


    15.     Headings. Any section and paragraph headings in this Consent Judgment are provided
    solely as a matter of convenience to the reader and shall not be construed to alter the meaning of
    any paragraph or provisions ofthis Consent Judgment.

     16.    Governing Law. This Consent Judgment shall be governed and interpreted in accordance
    with United States federal law.


    17.    Successors and Assigns. This Consent Judgment shall be binding on any successors and
    assigns of the Parties. Any change of ownership, corporate or other legal status of any Party to
    this Consent Judgment, including, but not limited to, a transfer of assets or real or personal
    property, shall in no way alter the obligations of any ofthe Parties under this Consent Judgment.

    18.     Effect of Execution and Entrv of Consent Judgment. This Consent Judgment shall not
    constitute or be construed as an admission ofliability by any Party or as an admission of violation
    of any law, rule, regulation or policy by any Party. Furthermore,this Consent Judgment shall not
    constitute or be construed as an admission or denial by any Party with respect to any factual
    allegation set forth in the complaint or third-party complaints or elsewhere, or with respect to any
    factual or legal issue that was, or could have been, raised during the litigation.

    19.     No Use As Evidence. This Consent Judgment shall not be admissible as evidence in any
    proceeding other than: (i) an action, cross-claim, or counterclaim brought by the United States,
    including the Federal Third-Party Defendants, or the Phoenix Settling Parties, either individually
    or jointly, to enforce this Consent Judgment;(ii) an action, cross-claim, or counterclaim brought
    by the United States, including the Federal Third-Party Defendants, against third parties to recover
    costs pursuant to sections 107 and 113 of CERCLA, 42 U.S.C. §§ 9607, 9613; or (hi) any
    proceeding where the United States, including the Federal Third-Party Defendants, seeks to
    establish that it is entitled to contribution protection.

    20.     Non-Parties to This Consent Judgment. Nothing in this Consent Judgment is intended to
    be, nor shall be construed as a waiver, release or covenant not to sue for any claim or cause of
    action, administrative or judicial, in law or in equity, which the Parties may have against any
Case 1:12-cv-03771-AMD-JO Document 601 Filed 10/30/17 Page 8 of 9 PageID #: 12386



     Consent Judgment in Civil Action No. CV-12-377I


     person, firm, partnership, trust, corporation, or any other entity that is not a Party to this Consent
     Judgment.

     21.     Retention of Jurisdiction. This Court retains jurisdiction over both the subject matter of
     this Consent Judgment and the Parties for the purpose of enabling any Party to apply to the Court
     at any time for such further order, direction, and relief as may be necessary or appropriate for the
     construction or modification ofthis Consent Judgment or to effectuate or enforce compliance with
     its terms, or to resolve disputes in accordance with the provisions of this Consent Judgment..

     22.     Notices. Whenever, under the terms of this Consent Judgment, written notice is required
     to be given or a report or other document is required to be sent by one Party to another, it shall be
     directed to the parties or individuals at the addresses specified on the attachments hereto, unless
     those individuals or their successors give notice of a change to the other Parties in writing. All
     notices and submissions shall be considered effective upon receipt, unless otherwise provided
     herein. Notices addressed to the Federal Third-Party Defendants shall be sent by reliable means
     of transmission with a certified confirmation of receipt to the sender.

     23.    Original Counterparts. This Consent Judgment may be executed in any number oforiginal
     counterparts, each of which shall be deemed to constitute one agreement. The execution of one
     counterpart by any Party shall have the sartie force and effect as ifthat Party had signed all other
     counterparts.

     24.     Representative Authoritv. Each signatory to this Consent Judgment hereby certifies that
     s/he has been duly authorized to enter into this Consent Judgment by the Party on whose behalf
     the signatory indicates s/he is signing.

     25.     Final Judgment. Upon approval and entry of this Consent Judgment by the Court, this
     Consent Judgment shall be in effect and shall constitute a finaljudgment between the Parties with
     respect to the claims resolved by the Consent Judgment, and this action, shall be dismissed with
     prejudice as to the Federal Third-Party Defendants. The Court finds that there is no just reason for
     delay and therefore enters this judgment as a final judgment under Fed. R. Civ.P.54 and 58.


     SO ORDERED THIS 3'^
     DAY^                      ,2017,

           s/Ann M. Donnelly
    HONORABLE ANN M.DONNELLY
     UNITED STATES DISTRICT JUDGE
Case 1:12-cv-03771-AMD-JO Document 601 Filed 10/30/17 Page 9 of 9 PageID #: 12387



     Consent Judgment in Civil Action No. CV-12-3771


     The undersigned parties enter into this Consent Judgment in Civil Action No. CV-12-3771:

     For Plaintiffs Phoenix Beverages,Inc., RODB LLC, Windmill Distributing Company,L.P.,
     Up From The Ashes,Inc., and other affiliated companies ofPhoenix Beverages,Inc.:

                                                  HUNSUCKER GOODSTEIN,PC
                                                  Attorneysfor Plaintiffs
                                                  5335 Wisconsin Avenue, N.W.
                                                  Suite 410                        V
                                                  Washingt<J^DC 2m^/f ^

                                                  MiCHAEl/D. GOODSTEIN,ESQ.
     For Third-Party Defendants United States Department of the Air Force; United States
     Department of the Army; United States Department of the Coast Guard; United States
     Department ofDefense; United States Department of the Navy; United States of America:



                                                  BRIDGET M. ROHDE
                                                  Acting United States Attorney
                                                  Eastern District of New York
                                                  Attorrmyffor Federal Third-Party Defendants

                                          By:
                                                KEVAN CLEARY
                                                Assistant United States Attorney
                                                United States Attorney's Office
                                                Eastern District of New York
                                                271 Cadman Plaza Bast, 7"' Floor
                                                Brooklyn, NY 112011
